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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                   CASE NO.: 1:21-cv-20862-BB

  MILLENNIUM FUNDING, INC., et al.,

         Plaintiffs,
  v.

  1701 MANAGEMENT, LLC DBA
  LIQUIDVPN, et al.,

        Defendants.
  _________________________________________/

                   GARNISHEES’ ANSWER TO WRIT OF GARNISHMENT

         Garnishees, MORGAN STANLEY & CO., LLC and MORGAN STANLEY

  INVESTMENT MANAGEMENT INC. (hereafter, “Garnishees”), by and through the undersigned

  representative, hereby answers the Writ of Garnishment served upon it and states as follows:

         1.      Garnishees were served with a Writ of Garnishment in the above-captioned matter

  on July 21, 2022, pertaining to the property of 1701 MANAGEMENT LLC d/b/a LIQUIDVPN,

  AUH20 LLC AND/OR CHARLES MUSZYNSKI a/k/a FREDERICK DOUGLAS (hereafter,

  “Debtors”).

         2.      Between the time of service of the Writ of Garnishment on Garnishees and the filing

  of this Answer, Garnishees have not been indebted to the Debtor in any amount nor had possession

  or control of any tangible or intangible property of the Debtor. Between the time of service of the

  Writ of Garnishment on Garnishees and the filing of this Answer, Garnishees have not been

  indebted to the Debtors in any amount nor had possession or control of any tangible or intangible

  property of the Debtors except to the extent that maintenance of the following account(s) can be

  deemed possession or control of Debtors’ tangible or intangible property:
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                 a. An account, number XXX-XXX797-505 REG (closed), in the name of
                    CHARLES A. MUSZYNSKI, with a current balance of $0;

                 b. A trust/EBT account, number XXX-XXX405-216 AAA (closed), in the name
                    of C. MUSZYNSKI. M. STAIMAN TRUSTEES WASTE PROFESSIONAL
                    401(K) PLAN U/A DTD 12/28/2004, with a current balance of $0;

                 c. An account, number XXX-XXX758-360 (closed), in the name of WASTE
                    PROFESSIONALS LLC, with a current balance of $0; and

                 d. An account, number XXX-XXX504-360, in the name of WASTE
                    PROFESSIONAL LLC, with a current balance of $0.


         3.      Garnishees do not know of any other person indebted to the Debtors or who may

  have any of the Debtor’s property in its possession or control.

         4.      Garnishees, having fully answered, claim the fees allowed by law.

  Dated: August 11, 2022                                 Respectfully submitted,

                                                 By:     /s/ Jose I. Rojas
                                                         Jose I. Rojas
                                                         Florida Bar No. 331546
                                                         Email: jrojas@rojaslawfirm.com
                                                         Alexander F. Rojas
                                                         Florida Bar No. 124232
                                                         Email: arojas@rojaslawfirm.com
                                                         ROJASLAW
                                                         201 South Biscayne Blvd., 28th Floor
                                                         Miami, FL 33131
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing document was served

  via CM/ECF using the electronic notification system, which will send a notice of electronic filing

  to all parties of record, on this 11th day of August, 2022.

                                                 By:     /s/ Alexander F. Rojas
                                                         Alexander F. Rojas




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